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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :
ACCENT DELIGHT INTERNATIONAL LTD., et al.,                             :
                                                                       :
                                    Plaintiffs,                        :     18-CV-9011 (JMF)
                                                                       :
                  -v-                                                  :          ORDER
                                                                       :
SOTHEBY’S, et al.,                                                     :
                                                                       :
                                    Defendants.                        :
                                                                       :
---------------------------------------------------------------------- X

JESSE M. FURMAN, United States District Judge:

       As discussed on the record during the telephone conference held earlier today, Plaintiffs’
motion for summary judgment as to liability on their Fourth Claim is GRANTED, and Plaintiffs’
motion for summary judgment as to liability on their Third Claim is DENIED, and that claim is
dismissed.

        Also as discussed on the record during today’s conference, the parties are directed to
meet and confer regarding the outstanding discovery dispute, see ECF No. 173, and to file a joint
letter describing their agreement or competing proposals (with details — including but not
limited to hit rates — for each set of proposals) no later than June 4, 2020.

        The Clerk of Court is directed to terminate ECF Nos. 80 and 173.

        SO ORDERED.

Dated: May 28, 2020                                        __________________________________
       New York, New York                                           JESSE M. FURMAN
                                                                  United States District Judge
